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          Exhibit 32
[Embedded Video Submitted to Chambers]
6/15/2017                              Summary of the BPCA meeting 6­18­2013 | BatteryPark.TV We Inform
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    BatteryPark.TV We Inform



    Summary of the BPCA meeting 6­18­2013
    Posted on June 18, 2013 by Editor

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       BPCA meeting 6-18-2013




    June 18, 2013­ By Steven Greer

    The BPCA meeting this morning proceeded once again in secretive fashion, with no details of the agenda being
    posted ahead of the meeting. Chairman Dennis Mehiel began by announcing the opening of Asphalt Green, with a
    resolution welcoming them and wishing them success. Anne Fenton made no comment, nor did Matthew
    Monahan.

    Next, they discussed Pier A, which is six months behind the revised schedule, and many years behind schedule
    since the BPCA assume control from the city. The shell will be turned over to the Poulakakos restaurant group by
    July 1st. After the restaurant is built, the opening date is “late Spring of 2014”.

    The plaza around Pier A will break ground by July 1st.

    The West Thames bridge was downplayed once again, with Mehiel only saying, “Nothing new to report….we’ll see
    how that goes”

    The Emergency Contract Subcommittee formed after Hurricane Sandy, to expedite repairs, will be dismantled by
    July 1.


http://batterypark.tv/neighborhoods/bpca/summary­of­the­bpca­meeting­6­18­2013.html                                    1/2
6/15/2017                               Summary of the BPCA meeting 6­18­2013 | BatteryPark.TV We Inform
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    The BPCA is proceeding with the bond refinancing. See our story for more details.

    A lengthy discussion ensued over the insurance required for the next flood. See our story for more details.

    An amendment was made to the contract with Brookfield allowing them to form a public gym and clothing retail
    shops.

    This entry was posted in Battery Park City and BPCA, Videos. Bookmark the permalink.




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